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                                 UNITED STATES DISTRICT COURT
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10                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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12   JENNY LISETTE FLORES, et al.,            ) Case No.: CV 85-4544-DMG (AGRx) 
                                              )
13            Plaintiffs,                     ) ORDER CONTINUING PLAINTIFFS’
     - vs -                                   ) RESPONSE DUE DATE [443]
14
                                              )
15   JEFFERSON B. SESSIONS, ATTORNEY          )
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     GENERAL, U.S. DEPARTMENT OF              )
     JUSTICE, et al.,                         )
17                                            )
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              Defendants.                     )
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             The parties have stipulated to a continuance of the submission date for Plaintiffs’
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     response to Defendants’ pending Ex Parte Application. See Minute Order [Doc. #
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     439].
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             UPON CONSIDERATION of the Parties’ Stipulation and for the reasons set
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     forth therein, the Court hereby ORDERS that Plaintiffs shall file their response to
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     Defendants’ Ex Parte Application seeking to modify certain aspects of the Flores
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     Agreement on or before June 29, 2018.
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             IT IS SO ORDERED.
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     DATED: June 28, 2018                             ________________________________
11                                                    DOLLY M. GEE
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                                                      UNITED STATES DISTRICT JUDGE

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